              Case 2:07-cr-00823-JLL                   Document 53                  Filed 05/01/12              Page 1 of 1 PageID: 163
AO 247 (Rev. li/li) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C.   § 3582(c)(2)           Page 1 of 2 (Page 2 Not for Pubhc I )iscIosure


                                        UNITED STATES DISTRICT COURT
                                                                        for the

                                                            District of_NEW JERSEY

                    United States of America
                                   V.                                      )
                                                                                   Case No:      2:07cr823-
                     AL-JARREAU BACOTE
                                                                                   USMNo:        28979-050
Date of Original Judgment:         4 August 2009                           )
Date of Previous Amended Judgment:                                         )       Tim Donohue, Esq
(Use Date of Last /1 mended Judgment ifAny                                         De/ndant ‘s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of x the defendant            the Director of the Bureau of Prisons        the court under 18 USC.
§ 3582(c)(2) for a reduction in the term   of imprisonment  imposed   based  on a  guideline sentencing  range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I B 1 1 0
and the sentencing factors set forth in 1 8 U.S.C. § 3 553(a), to the extent that they are applicable,
iT IS ORDERED that the motion is:
            X DENIED.         GRANTED and the defendant’s previously imposed sentence of imprisonment (as r/iected in
the last judgment issued,) of                         months is reduced to
                                              (Complete Parts I and II of Page 2 when motion is granted.




Except as otherwise provided, all provisions of the judgment dated                                                   shall remain in effect.
IT IS SO ORDERED.

Order Date:                27 April2012


Effective Date:            27 April 2012                                       *
                                                                                              Dennis M. Cavanaugh, U.S.D.J.
                      (.fdiffi’rent from order date)                                                     Printed name and title
